        Case 7:18-cv-10204-PMH
Case 7-18-cv-10204-PMH          Document
                          Document       161 inFiled
                                   160 Filed    NYSD 11/09/20 Page 1 ofPage
                                                       on 11/05/2020    2   1 of 2



                                                                                       Janine A. Mastellone
                                                                                        914.872.7230 (direct)
                                                                         Janine.Mastellone@wilsonelser.com


November 5, 2020
                                            Plaintiffs' Application for a Temporary Restraining Order
Via ECF                                     and Preliminary Injunction is denied as moot. The Clerk is
                                            instructed to terminate ECF No. 153.
The Honorable Judge Phillip Halpern
United States District Judge                SO ORDERED.
Daniel Patrick Moynihan
United States Courthouse                    ___________________________
500 Pearl Street                            Philip M. Halpern, U.S.D.J.
New York, New York 10007-1312
                                            Dated: New York, NY
 RE: Indig v. Village of Pomona
                                                   November 9, 2020
     Case No. 7:18-cv-10204 (PMH)
     Our file: 00295.12686


Dear Judge Halpern:

        Please allow this joint letter from the defendants to provide you with an update on the status

of this matter. Pursuant to your Order, an inspection of Mr. Klein’s residence at 63 Halley Drive,

Pomona, New York was conducted this morning by Mr. Zummo with counsel present. Fusco

Engineering did not appear for the inspection. Based upon the inspection, the Stop Work Order from

October 2017 is lifted. We have notified plaintiff’s counsel.

        The “pass” card for the inspection will be available at the Village Hall by tomorrow,

November 6, 2020. Additionally, there are some items, which were noted that will need to be

remedied; however, these do not effect the lifting of the Stop Work Order. A list will be provided

with the “pass” card for the inspection. As Mr. Klein moves forward with the construction, including

remedying the items on the list, counsel should advise us in writing when the premises is ready for

another inspection. Thank you.




8516365v.1
        Case 7:18-cv-10204-PMH
Case 7-18-cv-10204-PMH          Document
                          Document       161 inFiled
                                   160 Filed    NYSD 11/09/20 Page 2 ofPage
                                                       on 11/05/2020    2   2 of 2




Very truly yours,

Wilson Elser Moskowitz Edelman & Dicker LLP




Janine A. Mastellone


CC:

        Daniel Ashburn G. Ashburn, Esq. (e-mail:dashburn.ga@gmail.com)
        Albert Levy, Esq., (e-mail:aalesq@gmail.com)
        Kenneth E. Pitcoff, Esq., (e-mail: kpitcoff@mdafny.com)




8516365v.1
